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   10                       UNITED STATES DISTRICT COURT
   11                       CENTRAL DISTRICT OF CALIFORNIA
   12   MARK EDWARD SMITH,                      )
   13
                                                ) Case No. 2:25-cv-02839-RAO
              Plaintiff,                        )
   14                                           ) [PROPOSED]
   15                v.                         ) JUDGMENT OF REMAND
                                                )
   16
        FRANK BISIGNANO,                        )
   17   Commissioner of Social Security,        )
                                                )
   18
              Defendant.                        )
   19                                           )
   20
              The Court having approved the parties’ Stipulation to Voluntary Remand
   21
        Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
   22
        (“Stipulation to Remand”) lodged concurrently with the lodging of the within
   23
        Judgment of Remand, IT IS HEREBY ORDERED, ADJUDGED AND
   24
        DECREED that the above-captioned action is remanded to the Commissioner of
   25
        Social Security for further proceedings
                                             g consistent with the Stipulation
                                                                      p        to Remand.
   26
        DATED:        6/3/2025
   27
                                         HON ROZELLA
                                         HON. ROZELLA A.
                                                      A OLIVER
   28                                    UNITED STATES MAGISTRATE JUDGE
